Case 1:01-cv-12257-PBS Document 6633-5 Filed 11/02/09 Page 1 of 2

EXHIBIT D
Case 1:01-cv-12257-PBS Document 6633-5 Filed 11/02/09 Page 2 of 2

Column Record 1
Trans_Control_Num 60008800002070600
Bill_ Prov_Number 5401512800
Manufacturer 00074
TCN_digit 6
Year_of_svc 2000
FIRST_DATE_OF_SVC 36613
DRUG_NAME SODIUM CHLORIDE
DRUG_PRICE 0.0506
DRUG_QUANTITY 250
DAYS SUPPLIED 2
BRAND_NECESSARY 0
DRUG_THERA_CLASS 403600
DRUG_CODE 00074613802
Total_Claim_Charge 19.8
Total_Claim_Paid_Amt 18.4
Paid_Date 36616
UNIT_DOSE 0
REFILL_INDICATOR R
Month_of_Svc 36586
Bill_ Prov_County_Code 5
Allowed_Charge 18.4
Reci_Program_Code J
CLM_RECIP_PMT_AMT 0
THIRD_PARTY_PMT_AMT 0
DRUG_GENERIC_CODE 9827
DISPENSING FEE 5.75
PRESCRIPTION_NUMBER 23711
CUSTOMER_LOC 3
MCARE_TOT_BILL 0
RECIP_COPAY_AMT 0
DEA_NUM

COMPOUND_CODE 1
PRESC_PROV_LICENS_NO 19111
REIMBURSEMENT_AMOUNT 18.4
RecipMcaretnd 0
McareCoinsAmt 0
McareAllowedAmt 0
STECK_FIRST_DATE_OF_SVC 20000328
STECK_Paid_Date 20000331
STECK_ID 33724871
Per Unit Ingredient Cost 0.0506

Calculation

A-B/C
